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** AWAITING NY ADMISSION


                                                          March 31, 2020
              Honorable Alvin K. Hellerstein
              United States District Judge
              Southern District of New York
              500 Pearl Street
              New York, NY 10007

                                                  Re:     U.S. v. Castelle, 18 Cr. 15 (AKH)
                                                          Emergency Bail Application

              Dear Judge Hellerstein:

                    We represent Eugene Castelle on appeal from the judgment of conviction
              and sentence entered in the above-captioned case and respectfully submit this
              application in reply to the Government’s letter of March 31, 2020, filed in
              opposition to our motion to admit Mr. Castelle to bail pending appeal or, in the
              alternative, at least until the COVID-19 crisis has subsided. See 18 U.S.C. §
              3143(b).

                    We will keep this letter brief and focus on the what we consider the
              pivotal issues. We hope that all parties will give Mr. Castelle’s motion the same
              consideration they would hope would be given to a similar motion made on
              behalf of a loved one; Mr. Castelle deserves no less.

                     1. The Government asserts there is no danger to Mr. Castelle because
              “he previously, but no longer, had a respiratory infection” and that “no inmates
              have tested positive for the virus in the facility.” Gov. Let at. 10. On the
              contrary, the BOP has reported, as of March 30, 2020, that at least one inmate,
              and staff member, at Danbury FCI tested positive1 (and, as of this writing the
              BOP has not updated its statistics for March 31, although it claims to update
              daily at 3:00 pm). Moreover, to get beyond the sterile and incomplete statistics
              provided by BOP, here is what Mr. Castelle informs us are the actual

              1   COVID-19 Corona Virus: COVID-19 Tested Positive Cases, Bureau of Prisons
              (Mar. 31, 2020), at https://www.bop.gov/coronavirus/.
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           conditions at Danbury FCI (as of this afternoon). And, although he obviously
           has not done a head count of staff when he reports that “half the staff has taken
           off today because they are worried they will get it,” the critical nature of the
           conditions – otherwise hidden from the Government and Court’s view – is
           alarming:

                    HI RICHARD, well first off the entire instituation is on quarantined
                    each unit is stuck in there own units i live in a dorm with 70 guys all
                    on top of each other no wall seperate any one or beds the bed are bunk
                    beds one on top one on the bottom not more then 3 feet away is another
                    set of bunk beds common baths and showers there are 8 inmates that
                    have corona 4 staff and today and yesterday is he first days the staff are
                    all wearing gloves and mask no one has ever been tested in my unit OR
                    THE INSITIUATION ... M UNIT HAS 7 INMATES IN THERE ALONE
                    WITH THE VIRUS WE TRY TO ALL PUT UP TENT TYPE
                    SURROUNDINGS ON OUR BOTTOM BUNKS ESPECIALLY ME
                    BECAUSE I DO NOT WANT GUYS COUGHING AND SNEEZING ON
                    ME BUT THE COPS AND A.W. COME AROUND AND CUT THEM
                    DOWN NOT CARING WHO SICK WHO COUGHS WHO CHOKES
                    AND SNEEZES ON EACH OTHER... HALF THE STAFF HAS TAKEN
                    OFF TODAY BECAUSE THEY ARE ALL WORRIED THEY WILL GET
                    IT THIS PLACE IS READY TO BURST AT THE SEEMS WITH THE
                    VIRUS IF THEY ARE SAYING 7-OR 8 HAVE IT 100 HAVE IT NO
                    TEST WERE GIVEN TO ANYONE EVER INCLUDDING ME ...,HOW
                    I KNOW HOW MANY GUYS IN M UNIT HAVE WE PASS THE UNIT
                    ON THE WAY BACK FROM CHOW THROUGH THE WINDOWS
                    THEY TRLL US ,AS FOR ME I DO NOT GO OUT I EAT MY OWN
                    COMMISSARY .... STARTING TO FEEL SICK ALL OVER AGAIN
                    WITH SHORTINESS IN BREATH BACK ACKE COUGHING AGAIN
                    BUT AS USUAL OUR CONCERNS FALL ON DEAF EARS ITS ALL
                    SMOKE AND MIRRORS IN HEAR... THE LAST TIME IT TOOK AN
                    ACT OF GOD FOR THE LT TO CALL 911 AT 4 AM BECAUSE THREE
                    GUYS SAW ME THAT I COUNDNT BREATH AND I WAS
                    COUGHING AND CHOKING MY BRAIN OUT,AND MY ONE FRIEND
                    WHOM I KNOW FOR 30 YEARS TOLD THE LT I NEED TO GO TO
                    THE HOSPITAL NOW, ALONG WITH TWO OTHER INMATES WHO
                    PICKED UP A PHONE ONLY USED BY STAFF AND SAID GET
                    SOME ONE UP HERE A MAN IS ON HIS DEATH BED .. THE LT
                    SEEN THIS WAS VERY SERIOUS AND DID WHAT WAS RIGHT AND
                    HUMAN TO GET ME OUT OF HERE BECAUSE HE SEEN I WAS ON
                    MY DEATH BED ... PRIOR TO GOING TO THE HOSPITAL AT 4 AM
                    IN THE MORNING I WAS AT MEDICAL FOUR DIFFERENT TIMES
                    TO THAT WEEK, AND THE WEEK BEFORE WITH ZERO RESULTS
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                    Mr. Castelle’s condition continues to be monitored within the
           institution precisely because he’s still at risk that the pneumonia persists; if
           there was no risk, then, obviously, continued monitoring would be
           unnecessary. The Government’s claim that no inmate has tested positive
           certainly was made in good faith, but nonetheless was ignorant, and the BOP’s
           failure to update its statistics – as lacking as they unquestionably are2 – is
           disquieting. Moreover, as even the BOP website acknowledged as of March
           30th, at least one staff member has tested positive, and, logically, that staffer
           has come in contact with others within the institution and has put them at risk
           as well. It is only a matter of when – not if – the disease breaks out at Danbury
           in full force if it hasn’t already done so. We should not wait to react to a disaster
           when we now have an opportunity – perhaps our last clear opportunity – to
           avert one.

                   2. The Government’s contention that prison conditions should not be
           considered in determining bail applications “because the Bail Reform Act
           ‘addresses conditions of release, not conditions of detention,’” is belied by the
           two dozen or more cases that have considered the pandemic as a relevant factor
           in its decision to grant bail to defendants in BOP or other detention facilities.3

           2 The statistics only report positive tests and, as Mr. Castelle reports, tests are
           not routinely given even for inmates with classic COVID-19 symptoms. Nor do
           the BOP statistics report the number of quarantined inmates, let alone those
           inmates who have been tested and are awaiting results.
           3 See, e.g.,


                   United States v. Stephens, — F. Supp.3d —, 2020 WL 1295155 (S.D.N.Y.
                    Mar. 19, 2020) (Nathan, D.J.) (Bail granted to supervisee that violated
                    release by possessing firearm.)
                   United States v. McKenzie, 18 Cr. 834 (PAE), Doc. 443, (Mar. 30, 2020)
                    (Bail granted to pre-sentence defendant charged with VICAR and
                    §924(c) in furtherance of VICAR.)
                   Basank v. Decker, No. 20 CIV. 2518 (AT), 2020 WL 1481503, at *7
                    (S.D.N.Y. Mar. 26, 2020) (Torres, D.J.) (“For the reasons stated above,
                    the TRO is GRANTED. Respondents, and the Hudson, Bergen, and
                    Essex     County      Correctional      Facilities   are    ORDERED
                    to immediately release Petitioners today on their own recognizance
                    without fail.”) (emphasis in original).

                   Josefina Coronel, et al., Petitioners-Plaintiffs, v. Thomas Decker, et al.,
                    Respondents-Defendants. Additional Party Names: Jose Madrid, Jose
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           Moreover, the circumstances are sufficiently emergent to also invoke 28 U.S.C.
           § 2241 to release Mr. Castelle from dangerous conditions.4

                 3. The Government does not assert that Mr. Castelle is a flight risk but
           maintains that he fails to demonstrate by clear and convincing evidence that
           he is not a danger to the community. In fact, however, the Government
           consented to Mr. Castelle being on bail pending trial, see Doc. 19, 108 at 3
           (“The Government is consenting to bail”), and he was in fact at liberty,


                     Otero, Juan Morocho Sumba, Miguel Miranda, No. 20-CV-2472 (AJN),
                     2020 WL 1487274, at *1 (S.D.N.Y. Mar. 27, 2020) (Nathan, D.J.)
                     (“Petitioners bring this writ of habeas corpus and complaint seeking
                     immediate release from the custody of Immigration and Customs
                     Enforcement (ICE). For the reasons that follow, the Court GRANTS
                     their motion for a temporary restraining order, and orders Petitioners
                     to be immediately RELEASED from immigration detention on
                     conditions.”)
                    Jovel v. Decker, No. 20CIV308 (GBD) (SN), 2020 WL 1467397, at *1
                     (S.D.N.Y. Mar. 26, 2020) (Daniels, D.J.) (“Upon conducting an
                     independent analysis of Petitioner’s separate application for immediate
                     relief [while the COVID-19 crisis continues], this Court reaches an
                     independent conclusion that Petitioner’s emergency request should be
                     GRANTED.”)
           See also the following cases, in which courts have granted bail to defendants
           in reliance, inter alia, on the COVID-19 pandemic. United States v. Hudson,
           19-CR-496 (CM), Doc. 72 (S.D.N.Y. Mar. 19, 2020); United States v. Perez, 2020
           WL 1329225, at *1 (S.D.N.Y. Mar. 19, 2020) (Engelmayer, D.J.);United States
           v. Santiago Ramos, 20-CR-04 (ER), Doc. 21 (Mar. 19, 2020); United States v.
           Vizzari, 19 Cr. 767 (VSB), Doc. 21 (Mar. 20, 2020); United States v. Brandon,
           19 Cr. 644 (GBD), Doc. 23 (Mar. 24, 2020); United States v. Lopez, 19 Cr. 323
           (JSR) (March 23, 2020); United States v. Baker, 20 Cr. 125 (KMK), Doc. 22
           (Mar. 24, 2020); United States v. Almaleh, 17 Cr. 25 (NSR), Doc. 400 (Mar. 27,
           2020).
                  There are, additionally, a dozen or more similar decisions from district
           courts outside the Second Circuit.
           4   See, e.g., Basank v. Decker, No. 20 CIV. 2518 (AT), 2020 WL 1481503, at *4
           (S.D.N.Y. Mar. 26, 2020) (“An application for habeas corpus under 28 U.S.C. §
           2241 is the appropriate vehicle for an inmate in federal custody to challenge
           conditions or actions that pose a threat to his medical wellbeing.”)
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           gainfully employed, without incident; hence, the evidence that he is not a
           danger to the community is stronger now than it was pre-conviction (and
           during the brief post-conviction period when he was permitted to remain on
           bail). Mr. Castelle was able to accept work, moreover, because the Court
           rejected the Government’s objection to modifying his bail conditions finding
           “Prima facie he satisfied his burden.” See Doc. 173, 182 at 8. Further, the only
           examples the Government cites to support its claim that Mr. Castelle presents
           a continuing danger to the community is alleged conduct in 2012. Neither of
           the relevant declarants ever testified, reducing the Government’s position to:
           that Mr. Castelle today is a risk to the community may be inferred from an
           uncorroborated eight-year old tape.

                  4. Nothing in the Government’s response to the points we raise on
           appeal merit a finding that these are not “close” questions. The Government’s
           response to our Point I – concerning Agent Carillo’s “expert” testimony, merely
           cites cases approving testimony regarding “the structure, hierarchy, rules, and
           conduct of organized crime, organized crime terminology and code language,
           and the functioning of illegal gambling operations.” Gov. Let at 4. That,
           however, is not our objection to his testimony in this case, and therefore
           responds not at all to the arguments we make. Rather, we demonstrate in our
           brief how Carillo’s testimony went far beyond what the Second Circuit has
           approved and ventured deep into areas the Circuit has explicitly disapproved:
           intruding into the Government’s factual case, mirroring and bolstering lay fact
           testimony, and acting as a conduit for unfiltered testimonial hearsay in
           violation of Mr. Castelle’s confrontation rights. The Government maintains
           that “at no point did Carillo testify about what any out-of-court declarant had
           told him, instead explaining his own understanding of the Mafia based on
           numerous sources,” Gov. Let at 5, when in fact Carillo acknowledged relying
           on statements made to him from the 50 or more confidential informants and
           50 or more cooperating witnesses he had debriefed, (Tr. 160, 245), three of
           which he interviewed for this prosecution. (John Pennisi: Tr. 224; Peter
           Lovaglio: Tr. 224, 330; Joseph Anemone: Tr. 354-55). Carillo may not have been
           formally designated the “case agent” but by the Government’s own admission
           he spent “hundreds of hours conducting surveillance at Lucchese social clubs,”
           see Doc. 545 at 4, and 3500 material reflects that he participated in trial
           preparation and witness debriefing. Id.

                  The Government’s attempted rebuttal of our point regarding the
           exclusion of cross-examination regarding Pennisi’s reprehensible conduct in
           shooting someone he believed had an affair with a previous girlfriend, and then
           knocking out the teeth of another girlfriend because she supposedly had had
           an affair with Mr. Castelle, fares no better. The Government argues that this
           proposed cross was properly precluded as improper character evidence under
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           Rule 404(a)(1). The Government, however, simply ignores that the evidence
           was not proffered simply to prove that Pennisi acted in conformance with a
           character trait but rather to prove a specific motive to falsely implicate
           Castelle, i.e., to exact revenge for Castelle supposedly having an affair with his
           girlfriend. Evidence that establishes a specific motive for a witness to lie is
           relevant and admissible unless excludable on other grounds and, therefore,
           even extrinsic evidence of such a motive is admissible. See Justice v. Hoke, 90
           F.3d 43 (2d Cir. 1996); United States v. Yudong Zhu, 2014 WL 5366107, at *5
           (S.D.N.Y. Oct. 14, 2014) (“Unlike standard impeachment evidence, which
           is admissible only in limited circumstances, “[e]xtrinsic proof tending to
           establish a reason to fabricate is never collateral and may not be excluded on
           that ground.”). It is, additionally, relevant and admissible under Rule 404(b)
           to prove Pennisi’s motive to lie.

                  The Government argues that our appellate points regarding the
           gambling jury instructions and sufficiency of the evidence are not relevant to
           bail because Castelle must “demonstrate a likelihood of reversal as to all counts
           of conviction” and that “Because Count One is not likely to be reversed on these
           grounds, bail pending appeal is not warranted.” Gov. Let at 6. We disagree
           with the Government’s assessment of the merits of the arguments we raise in
           Points III of our brief (as well as Point IV), but will not further discuss them
           here, except to observe that, if the arguments we make in Point III are
           accepted, Counts One and Three – the only counts of conviction – would need
           be reversed.

                  Of course, final resolution of Mr. Castelle’s appeal must await full
           briefing and oral argument. For present purposes, however, the Court should
           find that we do, in fact, raise at least one “substantial” issue, i.e., an issue that
           presents “a close question or one that very well could be decided the other way”
           resulting in reversal or an eventual sentence reduction below the time Mr.
           Castelle would otherwise be incarcerated pending decision on appeal.

                                                     Respectfully submitted,




                                                     Richard Levitt
